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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

BONNIE HERNANDEZ,

      Plaintiff,

V.                                           Case No.: 4:23cv319-MW/MAF

UNITED STATES OF AMERICA,

     Defendant.
__________________________/

                       INITIAL SCHEDULING ORDER

      Federal Rule of Civil Procedure 1 seeks a “just, speedy, and inexpensive

determination of every action.” To accomplish that purpose, and in accordance with

Rule 16(b), it is ORDERED:

      (1) DISCOVERY PERIOD:

       (a) The parties must begin discovery immediately. The parties are further

directed to conduct discovery so that the due date of any discovery requested shall

not be later than November 30, 2023. The conduct of any discovery which would

require a later due date shall be permitted only on order of the Court. An extension

of time will ordinarily be granted only for good cause and upon showing of diligence

during the initial discovery period. See N.D. Fla. Loc. R. 6.1. The filing of motions

shall not operate to toll or extend the discovery cut-off date set forth in this
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paragraph. The parties must not delay discovery because a motion to dismiss is

pending.

       (b) No later than 30 days from the date of this order, and every 30 days

thereafter, the parties must file a joint status report stating what discovery requests

each party has made and the status of the response to each request. The purpose of

this requirement is to allow the Court to assess the diligence of the conduct of

discovery.

       (c) This Court’s intent is to encourage early discovery and discourage

discovery at the eleventh hour unless it is truly necessary. The parties are advised to

make discovery requests no later than 75 days before the end of the discovery period.

Unless otherwise ordered by the Court, motions to compel discovery are due no later

than 30 days before the close of discovery. The Court will ordinarily entertain a

motion to compel brought during the last 30 days of discovery only on a showing of

reasonable diligence during the discovery period and the discovery dispute in

question arose during the last 30 days of discovery.

      (2) RULE 26 REQUIREMENTS: This scheduling order is entered prior to the

conference of parties and the filing of the joint report required under Federal Rule

of Civil Procedure 26(d), so that discovery may proceed immediately and without

unnecessary delay. Modifications may be made to this order upon consideration of

the parties’ joint report. The following will be required of all parties to this litigation:

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      (a) CONFERENCE OF PARTIES AND FILING OF JOINT REPORT: Counsel of record

and any unrepresented parties shall confer (personally, by phone, or electronically)

within 30 days from the date of this order, as required by Rule 26(f), and the joint

report to the Court [see Form 52] shall be filed within 14 days thereafter. The

plaintiff shall initiate arrangements for the conference and filing of the report, but

the Court shall hold all parties equally responsible for ensuring that the conference

is held and the report filed as required. If the parties are unable to agree, each party=s

position shall be set out in the filed joint report. In addition to the matters set out in

Rule 26(f), the following shall also be discussed at the conference and specifically

addressed in the joint report:

        (i) The matter of magistrate judge jurisdiction over the case. In accordance

with Rule 73.1(A) of the Local Rules, the parties are directed to confer regarding

their willingness to consent to magistrate judge jurisdiction, and the joint report

should reflect this discussion. However, the joint report should state only that the

parties have conferred regarding this issue. The parties may withhold consent if they

so choose. Under no circumstances should the parties indicate their respective

positions on the matter of consent in the joint report. If all parties, after conferring

with one another, elect to consent to magistrate judge jurisdiction, the attached form

of consent should be signed by all parties and filed in the Clerk=s office. It shall be

plaintiff=s responsibility to forward the form to defendant(s), who, in turn, shall have

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the responsibility of filing the document. The form should be filed only if all parties

have consented and signed the form. If any party elects not to consent, the form

should not be returned.

        (ii) The nature and basis of all claims and defenses, and a good faith

attempt to identify the principal factual and legal issues in dispute.

        (iii) The possibility for prompt settlement or resolution of the case, and

whether mediation (or any other alternative dispute resolution process) might be

helpful in settlement, either now or after certain limited discovery has taken place.

        (iv) Proposed timetables and cutoff dates for the joinder of other parties,

amendments to the pleadings, and the filing of motions and responses, and in

particular, whether this initial scheduling order should be revised or amended in any

way.

        (v) The parties= respective discovery requirements in this case, and if the

parties deem this initial scheduling order to be inadequate, they shall develop an

alternate proposal which specifically addresses the timing and form of discovery,

whether discovery should be conducted in phases or limited in any respect, and what,

if any, changes should be made in the discovery procedures and time deadlines set

out in this initial scheduling order, or in the applicable rules.

        (vi) Whether any party will likely request or produce information from

electronic or computer-based media:

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         1. whether disclosure or production will be limited to data reasonably

available to the parties in the ordinary course of business. Absent a showing of good

cause, the Court will not require the production of back-up or historic legacy data,

nor will it require the production of data that is not reasonably available in the

ordinary course of business in reasonably usable form;

          2. if data beyond what is reasonably available to the parties in the ordinary

course of business is to be sought, the anticipated scope, cost and time required for

its disclosure or production, and who will bear the cost;

          3. the format and media agreed to by the parties for the production of any

electronic or computer-based data, as well as agreed procedures for such production;

          4. whether reasonable measures have been taken to preserve potentially

discoverable data from alteration or destruction in the ordinary course of business or

otherwise;

          5. procedures to deal with inadvertent production of privileged

information; and

          6. other problems which the parties anticipate may arise in connection with

electronic or computer-based discovery.

        (vii) A good faith estimate as to when the parties believe the case will be

ready for trial (month and year). This date will be set out in the joint report, and if




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it is not within 8 months from the date of filing of this case, an explanation must be

included.

        (viii) Any other matters which the parties deem appropriate with regard to

specific aspects or the uniqueness of this case, and including any applicable subject

within Rule 16(c).

        (ix) The parties are directed to inform the Court in their joint report if it

appears that this case should be made subject to the Manual for Complex Litigation.

      (b) INITIAL DISCLOSURES. The initial disclosures required by Rule 26(a)(1)

shall be provided (unless otherwise stipulated), without awaiting a discovery request,

to all other parties within 14 days from the date of the parties= conference required

under Rule 26(f).

      (c) EXPERT DISCLOSURES. Rule 26(a)(2) disclosures of expert witnesses and

their opinions shall be made by the plaintiff within 60 days from the date of this

scheduling order, and by the defendant or defendants within 30 days thereafter.

Third parties or parties added or joined later shall disclose their experts under Rule

26(a)(2) within 60 days after appearance in this case, or within 30 days after the

disclosure by the opposing party, whichever is the longer period. Rebuttal expert

reports are due within the time set by Rule 26(a)(2)(d)(ii). Expert witnesses not

timely disclosed as required by Rule 26(a)(2), or whose opinions have been




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significantly modified or changed after discovery has ended, will normally not be

permitted to testify at trial.

      (d) PRETRIAL DISCLOSURES. The Rule 26(a)(3) pretrial disclosures are not

required at this time. The Court will enter an order after the completion of discovery

which will set a pretrial conference and will specify the parties= comprehensive trial

disclosure and preparation requirements.

       (3) ADDITIONAL COURT ACTION OR SCHEDULING CONFERENCE. The Court

will promptly consider the parties= filed joint report, and will take one of the

following courses of action within 14 days thereafter:

       (a) Enter a final scheduling order by modifying this initial scheduling order as

the presiding judge deems appropriate in light of the parties= joint report, or by

adopting the parties= report, or by confirming the requirements of this order.

       (b) Set the matter for a Rule 16 scheduling conference, either for the attorneys=

(and any unrepresented parties=) personal attendance, or to be conducted by

telephone. A final scheduling order will be entered thereafter.

       (c) If the Court takes no action within 14 days from the filing of the joint

report, this initial scheduling order will continue in full force and effect until some

further order of this Court.




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        (d) If any party so requests by motion, a scheduling conference or preliminary

pre-trial conference may be held, by telephone or in person, to address any of the

matters set out in Rule 16(a), (b), and (c), Federal Rules of Civil Procedure.

        (4) INTERROGATORIES. The number of interrogatories shall be governed by

Rule 33(a), Federal Rules of Civil Procedure.

        (5) SCHEDULE OF PRETRIAL MATTERS. In accordance with Rule 16(b),

Federal Rules of Civil Procedure, the following schedule shall apply to this case,

unless excluded by Local Rule 16.1, or unless any party shall file an objection or

request for a different schedule within 44 days from the date of this order, viz:

        (a) Joinder of other parties and amendments of pleadings shall be

accomplished by the service and filing of the appropriate motions or pleadings

within the time required by the Federal Rules of Civil Procedure or the Local Rules

of this Court, except as noted below.

        (b) All motions and responses shall be served and filed within the time

required by the Federal Rules of Civil Procedure or the Local Rules of this Court.

        (c) Motions for summary judgment shall be filed as promptly as possible, but,

unless otherwise permitted by court order, not later than 21 days after the close of

discovery.

        (d) Motions filed may be disposed of without hearing. See N.D. Fla. Loc. R.

7.1.

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      (e ) If the rules and this order do not provide a time for the filing or service of

motions or pleadings, then such motions or pleadings shall be served and filed within

the period provided for the completion of discovery.

     (6) ATTORNEYS= DISCOVERY OBLIGATIONS. The Rules of Civil Procedure set

out explicit time limits for responses to discovery requests. If an attorney cannot

respond on time, this fact should be communicated by the most expeditious means

to opposing counsel; and if consent to an extension of time cannot be obtained, a

motion requesting the same should be immediately filed and served.                In the

meantime, no motion to compel a response shall be filed. Stipulations extending

the time for responses to discovery may be made only as authorized by Federal Rule

of Civil Procedure 29 and Local Rule 6.1.

     (7) RULE 37 AWARDS OF MOTION EXPENSES. The Court will ordinarily award

counsel fees for time spent in filing (and arguing) a motion to compel if such a

motion is necessary to make the recalcitrant party respond, or for time spent in

opposing (and arguing) such a motion that is found to be unnecessary or without

basis. Certification of all discovery requests, responses, and objections is required

under Rule 26(g), and violations thereof will be subject to sanctions.

     (8) RESOLUTION OF DISCOVERY CONTROVERSIES. Counsel should attempt to

resolve discovery controversies without the Court’s intervention. The Court will

entertain a motion with respect to matters which remain in controversy only if, after

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consultation and sincere attempts to resolve differences, counsel are unable to reach

an accord. Any motion filed shall include certification that such attempts have been

made, in accordance with Local Rule 7.1(B) and (C), and Federal Rule of Civil

Procedure 37, and shall be in the form required by Local Rule 26.2(G)(3). Counsel=s

attention is also directed to the supplementation requirements of Rule 26(e) and their

obligations under Rule 26(g), as well as counsel=s potential liability for excessive

costs under 28 U.S.C. § 1927.

     (9) ATTORNEY’S FEE RECORDS. Local Rule 54.1 applies. A party must not

file attorney’s fee records until needed.

     (10) SUMMARY JUDGMENT. Local Rule 56.1 applies to summary-judgment

motions. Additionally, the parties must use the following procedures for filing

summary judgment papers:

      (a) First, file a notice listing exhibits to be filed in support of or in opposition

to summary judgment. Include the exhibits as attachments to the notice on CM/ECF.

Exhibits that cannot be filed on CM/ECF must be submitted to the Clerk along with

a hard-copy notice of filing.

      (b) Second, file the summary judgment memorandum (motion, response, or

reply) pinciting to the ECF number for the exhibit attached to the notice listing the

exhibits.

      (c) To the extent it is technologically feasible, each part must:

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            (i) Highlight the portion of the exhibit it wishes this Court to look at; and

            (ii) File deposition transcripts in a form where the text of the testimony is

searchable with the control-F function.

      (d) The parties should take note that this Court reviews the cited portions of

the record. Discrepancies between factual assertions in the parties’ memoranda and

the actual record do not go unnoticed. The parties should take care to distinguish

between record evidence and inferences which can reasonably be made from that

evidence.

     (11) FILING OF RULE 26 DISCLOSURES AND DISCOVERY MATERIALS. In

accordance with Federal Rule of Civil Procedure 5(d), the parties shall serve but

shall not file with the Clerk copies of discovery materials (including notices of

deposition, deposition transcripts, interrogatories, responses to interrogatories,

production requests, responses to production requests, admissions requests, or

responses to admissions requests), unless and until needed for consideration of

pending motions by the Court. The parties need not serve and shall not file with

the Clerk separate notices of serving interrogatories or interrogatory responses,

notices of serving production requests or responses, or notices of serving admissions

requests or responses. Contrary to standard practice under Rule 5(d)(1), the parties

must file disclosures under Federal Rules of Civil Procedure 26(a)(1) and 26(a)(2),

and any supplements to those disclosures, no later than 7 days from the date the

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disclosure is served on the opposing party. See Fed. R. Civ. P. 5(d)(1). Each party

must file only the disclosing paper, and not underlying documents. Any

supplemental disclosure must reflect the changes in bold or by highlight.

     (12) ELECTRONIC FILING. Each party represented by an attorney is required

to file documents electronically, not in paper form, with limited exceptions.

Compliance with this requirement is mandatory. Paper filings are a burden on the

Clerk of the Court, delay the transmission of the documents to the judge, and waste

the judge=s time. Whenever a party files an amended paper, e.g., an amended motion

to dismiss, the amended paper must clearly state at the outset the nature of the

amendment and the reason for it.

     (13) DISCLOSURE STATEMENT. Each nongovernmental corporate party must

file a statement that identifies any parent corporation and any publicly held

corporation that owns 10% or more of its stock or states that there is no such

corporation. The deadline for filing the statement is set forth in Fed. R. Civ. P. 7.1,

and, if not filed sooner, the statement must in any event be filed within 14 days of

the date of this order. A supplemental statement must be filed upon any change in

the information that the statement requires.




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     (14) AMENDMENTS. This order may be amended by the Court on its own

motion or upon motion of any party.

      SO ORDERED on August 2, 2023.

                                      s/Mark E. Walker                   ____
                                      Chief United States District Judge




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     FLN Form 85 (rev. 8/98) Notice, Consent, and Order of Reference - Exercise of Jurisdiction by a United States Magistrate Judge

                                   IN UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF FLORIDA
                                         TALLAHASSEE DIVISION

 BONNIE HERNANDEZ,

           VS                                                                 Case No. 4:23-cv-00319-MW-MAF

 UNITED STATES OF
 AMERICA,


           NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE JUDGE
                            TO EXERCISE JURISDICTION

        In accordance with the provisions of 28 U.S.C. '636(c), and Fed.R.Civ.P. 73, you are notified that a
United States magistrate judge of this district court is available to conduct any or all proceedings in this case
including a jury or nonjury trial, and to order the entry of a final judgment. Exercise of this jurisdiction by a
magistrate judge is, however, permitted only if all parties voluntarily consent.

         You may, without adverse substantive consequences, withhold your consent, but this will prevent the
court=s jurisdiction from being exercised by a magistrate judge. If any party withholds consent, the identity of the
parties consenting or withholding consent will not be communicated to any magistrate judge or to the district judge
to whom the case has been assigned.

         An appeal from a judgment entered by a magistrate judge shall be taken directly to the United States
court of appeals for this judicial circuit in the same manner as an appeal from any other judgment of this district
court.

      CONSENT TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE

        In accordance with provisions of 28 U.S.C. '636(c) and Fed.R.Civ.P. 73, the parties in this case consent
to have a United States magistrate judge conduct any and all proceedings in this case, including the trial, order
the entry of a final judgment, and conduct all post-judgment proceedings.

     Party Represented                                  Signatures                                        Date




                                                   ORDER OF REFERENCE

        IT IS ORDERED that this case be referred to                                                    ,
United States Magistrate Judge, to conduct all proceedings and order the entry of judgment in accordance with 28
U.S.C. '636(c), Fed.R.Civ.P. 73, and the foregoing consent of the parties.


                                Date                                                    United States District Judge
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    FLN Form 85 (rev. 8/98) Notice, Consent, and Order of Reference - Exercise of Jurisdiction by a United States Magistrate Judge

NOTE: RETURN THIS FORM TO THE CLERK OF THE COURT ONLY IF ALL PARTIES HAVE CONSENTED ON THIS
      FORM TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE.
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      FLN Form 85 (rev. 8/98) Notice, Consent, and Order of Reference - Exercise of Jurisdiction by a United States Magistrate Judge

                            NOTICE OF RIGHT TO CONSENT TO DISPOSITION OF
                           CIVIL CASE BY A UNITED STATES MAGISTRATE JUDGE

        Under 28 U.S.C. ' 636(c)(1), full-time magistrate judges are authorized to exercise civil jurisdiction,
including trial of the case and entry of final judgment, upon consent of the parties. Due to the district courts=
heavy trial schedules, such consent to magistrate jurisdiction often results in more expeditious resolution of
cases. The parties are, of course, entirely free to withhold such consent without any adverse consequences.

        In all civil cases, other than prisoner litigation and social security appeals, the parties shall be required
pursuant to the Initial Scheduling Order to confer regarding the matter of magistrate judge jurisdiction. However,
the Joint Report should state only that the parties have conferred regarding this issue. Under no circumstances
should the parties indicate their respective positions on the matter of consent in the Joint Report.

         Should all parties, after conferring with one another, elect to consent to magistrate judge jurisdiction, the
attached form of consent should be signed by all parties and returned to the court. It shall be plaintiff=s
responsibility to forward the form to defendant(s), who, in turn, shall have the responsibility of filing the document
with the court through the clerk=s office. The form should be returned to the court only if all parties have
consented and signed the form. Should any party elect not to consent, the form should not be returned.

          In prisoner litigation and social security appeals, and any other case in which an Initial Scheduling Order
is not entered, the clerk shall, after the first responsive pleading is filed, send a consent form to the plaintiff. If the
plaintiff elects to consent, plaintiff shall sign the form and promptly send it to defendant(s). If defendant(s) also
consents and signs the form, defendant(s) shall promptly return the form to the court. Should any party elect
not to consent, the form should not be returned.

         A party=s decision to consent, or not to consent, to the disposition of the case before a United States
Magistrate Judge is entirely voluntary, and no judge of this court will be informed of a party=s decision to withhold
consent. By returning the consent form only in cases where all parties consent, the court will not be aware of
which party withheld consent. Where the consent form is not returned to the court during the early stages of the
case, either the district court judge or magistrate judge may again advise the parties of the availability of the
magistrate judge, but in doing so, shall also advise the parties that they are free to withhold consent without
adverse consequences.

          Please note that in the event of consent, the parties may appeal a final judgment from the magistrate
directly to the court of appeals in the same manner as an appeal from any other judgment of the district court.
